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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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OSCAR CRUZ, MYNOR POLANCO and CARLOS
VASQUEZ individually and on behalf of all others
similarly situated,

                                   Plaintiffs,                           ORDER
                                                                         23-CV-9200 (GRB) (ARL)
                 -against-

DEMARCO BROS LANDSCAPING & TREE SERVICE
CORP doing business as Frank Giovinazzo Tree Service
doing business as Frank Giovinazzo North Shore Tree Service
doing business as North Shore Tree Service. and THEODORE
PASSELIS,

                                    Defendants.
---------------------------------------------------------------------X
LINDSAY, Magistrate Judge:

        Before the Court is the plaintiffs’ motion seeking to toll the statute of limitations for
putative opt-in plaintiffs during the pendency of Court-ordered mediation. The plaintiffs also
seek to clarify that they need not file a motion for conditional certification until the completion
of the mediation. The defendants oppose the motion to the extent it seeks to toll the statute of
limitations. For the reasons set forth below, the motion is denied.

        The plaintiffs commenced this action on December 15, 2023. On February 5, 2024, the
undersigned issued a FLSA Initial Discovery and Mediation Referral Order that requires the
parties to exchange certain discovery by March 21, 2024, and to meet and confer by April 22,
2024, in a good-faith effort to settle all pending issues, including attorneys' fees and costs. On or
before April 30, 2024, the parties are then to report to the Court: (1) whether the parties have
reached an agreement to settle the case or (2) if they are unable to settle the matter on their own,
whether they choose to participate in a formal mediation before an EDNY mediator or a private
mediator. All parties in FLSA cases pending before the undersigned must participate in
mediation if they have been unable to settle the case on their own.

        While the plaintiffs are correct that the FLSA Initial Discovery and Mediation Referral
Order does not set a specific date by which the plaintiff must file a motion for conditional
certification, it does address instances in which collective certification motions are filed in
advance of the mediation. Specifically, the Order requires parties in collective actions to
exchange initial documents for opt-in plaintiffs in the same way as they are required to exchange
documents for named plaintiffs. The Court will not set a date by which a conditional
certification motion is to be filed. That is a determination that must be made by counsel.
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Moreover, with respect to the plaintiffs’ request to toll the statute of limitations for putative opt-
ins to avoid the necessity of early motion practice, that request is also denied. The defendants
have correctly noted that tolling should be invoked "only in rare and exceptional circumstances."
Mendoza v. Ashiya Sushi 5. Inc., No. 12 Civ. 8269, 2013 WL 5211839, at *10 (S.D.N.Y., Sept.
16, 2023). “In an FLSA collective action, ‘the limitations period continues to run for each
plaintiff until he or she files written consent with the court to join the lawsuit.’” Viriri v. White
Plains Hosp. Med. Ctr., 320 F.R.D. 344, 355 (S.D.N.Y. 2017) (citing Jackson v. Bloomberg,
L.P., 298 F.R.D. 152, 170 (S.D.N.Y. 2014)). “[A] district court may toll the limitations period to
avoid inequitable circumstances,” but only after “giving due consideration to whether the
plaintiffs have acted with reasonable diligence in pursuing their claims and whether the
circumstances are extraordinary enough to warrant equitable relief.’” Id. The Court does not
believe the circumstances in this case are extraordinary.


Dated: Central Islip, New York                         SO ORDERED:
       February 15, 2024

                                                       __________/s________________
                                                       ARLENE R. LINDSAY
                                                       United States Magistrate Judge




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